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 1
                               UNITED STATES DISTRICT COURT
 2
                                 EASTERN DISTRICT OF CALIFORNIA
 3

 4    UNITED STATES OF AMERICA,                          CASE NO. 1:07-CR-00156-LJO-2
 5                          Plaintiff-Respondent,
                                                         ORDER SETTING BRIEFING SCHEDULE
 6           v.
 7    JORDAN HUFF,
 8                          Defendant-Petitioner.        (ECF NO. 486)
 9

10          On June 23, 2016, Petitioner Jordan Huff, through the Federal Defender’s Office, filed a
11   motion to vacate, set aside, or correct his sentence pursuant 28 U.S.C. § 2255 (ECF No. 486), raising
12   issues related to Johnson v. United States, 135 S. Ct. 2551 (2015), and Welch v. United States, 136 S.
13   Ct. 1257 (2016). Petitioner simultaneously filed an application to the Ninth Circuit for leave to file a
14   second or successive § 2255 motion. (ECF. No. 486.) On February 17, 2017, the Ninth Circuit
15   granted Petitioner’s application to file a second or successive § 2255 motion. (ECF No. 485.)
16   Accordingly,
17          IT IS HEREBY ORDERED that the Government shall file a response to Petitioner’s § 2255
18   motion within 30 days (on or before March 23, 2017). From the date of the Government’s filing,
19   Petitioner shall have 30 days to file a reply.
20
     IT IS SO ORDERED.
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22      Dated:      February 21, 2017                       /s/ Lawrence J. O’Neill _____
                                                      UNITED STATES CHIEF DISTRICT JUDGE
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